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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEBRASKA

In re:

Eat Fit Go Healthy Foods, LLC, et al.1                     Chapter 11

                   Debtors.                                Case No. 18-81127-TLS

                                                           (Jointly administered)



   MOTION OF LIVE WELL ENTERPRISES, LLC FOR (I) ENTRY OF AN
 ORDER COMPELLING EAT FIT GO HEALTHY FOODS, LLC AND/OR EAT FIT GO
  KITCHEN ARIZONA, LLC TO TIMELY PERFORM ALL POST-PETITION LEASE
  OBLIGATIONS PURSUANT TO 11 U.S.C. § 365(d)(3); AND (II) ALLOWANCE
  AND PAYMENT OF AN ADMINISTRATIVE EXPENSE CLAIM PURSUANT TO 11
                    U.S.C. §§ 503(b)(1)(A) and 507(a)(2)

         Live Well Enterprises, LLC, a Nebraska limited liability company (“Live Well”), by and

through its undersigned counsel, moves the Court for an Order compelling Eat Fit Go Healthy

Foods, LLC and Eat Fit Go Kitchen Arizona, LLC to timely perform all of their post-petition

obligations under 11 U.S.C. § 365(d)(3) relating to a certain lease of nonresidential real property

and for the ancillary relief specified herein. In support of this Motion, Live Well respectfully

states the following:

                                          I. INTRODUCTION

         In August, 2016, Eat Fit Go Healthy Foods, LLC (“Eat Fit Go”) entered into a Lease

Agreement with Live Well for nonresidential real property owned by Live Well. In December,

2016, Eat Fit Go assigned its tenancy rights under the Lease Agreement to Eat Fit Go Kitchen

Arizona, LLC (“Eat Fit Go Kitchen”). Eat Fit Go’s assignment of the Lease Agreement to Eat

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 The Debtors in this jointly administered case are: 18-81127-TLS Eat Fit Go Healthy Foods, LLC; 18-81121-TLS
Eat Fit Go Arizona Kitchen, LLC; 18-81122-TLS Eat Fit Go Georgia Kitchen, LLC; 18-81123-TLS Eat Fit Go
Healthy Foods Des Moines, LLC; 18-81124-TLS Eat Fit Go Healthy Foods Kansas City, LLC; 18-81125-TLS Eat
Fit Go Healthy Foods Minnesota, LLC; 18-81126-TLS Eat Fit Go Healthy Foods Omaha, LLC; 18-81128-TLS Eat
Fit Go Kansas City Kitchen, LLC; 18-81129-TLS Eat Fit Go Omaha Kitchen, LLC; 18-81130-TLS EFG Shared
Services, LLC.


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Fit Go Kitchen did not release Eat Fit Go from its obligations under the Lease Agreement. Both

Eat Fit Go and Eat Fit Go Kitchen each filed voluntary Chapter 11 petitions for relief on July 31,

2018.

         In violation of the obligations imposed upon both Eat Fit Go and Eat Fit Go Kitchen by

11 U.S.C. § 365(d)(3) and the Lease Agreement, both Eat Fit Go and Eat Fit Go Kitchen have

failed to timely and fully pay rent arising under the Lease from and after July 31, 2018, the date

these Chapter 11 proceedings were commenced (the “Petition Date”). The existing violations of

Section 365(d)(3) and the refusal of Eat Fit Go and Eat Fit Go Kitchen to honor their respective

Section 365(d)(3) obligations---other than under Court Order---cause Live Well to move this

Court for entry of an Order compelling both Eat Fit Go and Eat Fit Go Kitchen to comply with

their obligations under Section 365(d)(3) by immediately curing the default that exists with

respect to rent that arose under the Lease on and after July 31, 2018. Alternatively, Live Well

requests that the Court enter its Order granting Live Well an allowed administrative expense

claim pursuant to 11 U.S.C. § 503(b)(1) with priority as provided in 11 U.S.C. § 507(a)(3) and

requiring that such claim be immediately paid.

                                          II. JURISDICTION

         1.        Eat Fit Go and Eat Fit Go Kitchen (together, the “Lessee Debtors”) both

commenced Chapter 11 proceedings by filing voluntary petitions for relief on July 31, 2018 (the

“Petition Date”).

         2.        The Court has jurisdiction over the subject matter of this Motion pursuant to 28

U.S.C. §§ 157(b) and 1334(b). Venue before this Court is proper pursuant to 28 U.S.C. 1409(a).

         3.        The statutory predicates for the relief requested herein are 11 U.S.C. §§ 365(d)(3);

365(d)(4); 503(b)(1)(A); and 507(a)(2).



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         4.         This is a core proceeding arising within 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”) that the Court has authority to hear and determine within the meaning of 28

U.S.C. §§ 157(b)(2)(A), (B), and (M).

                                        III. FACTUAL BACKGROUND

         5.         On August 16, 2016, Live Well and Eat Fit Go entered into that certain Lease

Agreement (together with all exhibits, attachments, amendments and modifications thereto, the

“Lease”).          The Lease relates to real property and improvements located at 739 E. Dunlap

Avenue, Phoenix, Arizona (the “Premises”), as is more particularly described in the Lease. The

Lease was assigned by Eat Fit Go to Eat Fit Go Kitchen pursuant to that Assignment of Lease

Agreement (the “Lease Assignment”) dated as of December 1, 2016. The Lease Assignment did

not provide for Eat Fit Go to be released of its obligations under the Lease to Live Well. True

and correct copies of the Lease and the Lease Assignment are attached hereto as Exhibit A and

are incorporated herein by this reference.

         6.         Pursuant to the terms of the Lease, the Lessee Debtors are required to, inter alia,

(i) make fixed monthly Minimum Rent payments in the amount of $12,000/month which

Minimum Rent is adjusted upward as monthly sales made by Eat Fit Go Kitchen equal or exceed

certain specified levels. See Lease at §4(a). Because at least 6,000 meals were sold in a month

preceding July 31, 2018, the amount of the monthly rent due each month from the Lessee

Debtors as of August 1, 2018 was $20,000/month. Id. Additionally, pursuant to the Lease, the

Debtors are obligated to pay Additional Rent, as defined in the Lease, including Additional Rent

relating to real estate taxes levied upon the Property. See Lease at §4(b). Specifically, the

Debtors are obligated to pay to Live Well each month Additional Rent equal to 1/12 of the real

estate taxes for the then current year. The real estate taxes levied against the Property for 2018



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total $18,000; as a result, for each month during 2018, the Debtors were obligated to pay Live

Well Additional Rent for real estate taxes in the amount of $1,500. See Lease, Section 4(b).

                                       IV. REQUEST FOR RELIEF

         A.        Pursuant to 11 U.S.C. § 365(d)(3), the Court Should Require the Debtor to
                   Make Immediate and Full Payment of the Minimum Rent and Additional
                   Rent that Became Due Under the Lease On and After the Petition Date.

         7.        From and after the Petition Date, the Debtor has continuously occupied the

Property. Notwithstanding the Debtor’s continuous occupancy and possession of the Property,

the Debtor has not made any payments to Live Well since the Petition Date.

         8.        Section 365(d)(3) of the Bankruptcy Code requires the Debtor to fully and timely

perform all post-petition obligations under an unexpired lease of nonresidential real property

arising from or after entry of an order for relief until assumption or rejection of the lease:

         The trustee shall timely perform all of the obligations of the debtor, except those
         specified in section 365(b)(2), arising from or after the order for relief under any
         unexpired lease of nonresidential real property, until such lease is assumed or
         rejected, notwithstanding section 503(b)(1) of this title. The court may extend,
         for cause, the time for performance of any such obligation that arises within 60
         days after the date of the order for relief, but the time for performance shall not be
         extended beyond such 60-day period. . . .

11 U.S.C. § 365(d)(3).

         9.        The plain language of Section 365(d)(3) requires performance of “all the

obligations of the debtor” under an unexpired commercial lease of realty “until such lease is

assumed or rejected.” 11 U.S.C. § 365(d)(3). Section 365(d)(3) serves to protect landlords by

requiring debtors timely perform their obligations arising under a lease, since “the landlord under an

unexpired lease is an involuntary participant in the post-petition life of a debtor,” and “they have

no choice but to provide the premises and the services required by the unexpired lease until it is

rejected.” In re Rhodes, 321 B.R. 80, 90 (Bankr. N.D. Ga. 2005). Therefore, Section 365(d)(3)



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requires that the Debtor timely pay and perform all obligations arising under the Lease from and

after the Petition Date. See 11 U.S.C. § 365(d)(3).

         10.       Section 365(d)(3) protects landlords by requiring debtors timely to perform their

obligations arising under a lease. See In re Montgomery Ward Holding Corp., 268 F.3d 205, 209

(3rd Cir. 2001). Section 365(d)(3) requires debtors immediately to pay their lease obligations in

full as they come due in the post-petition period. See Id.; In re DVI, Inc., 308 B.R. 703 (Bankr.

D. Del. 2004). See Matter of Austin Development Company, 19 F.3d 1077, 1084 (5th Cir.

1994)(“[lessor] is entitled to receive rent from the filing of bankruptcy to the date of lease

rejection; In re Southern Motel Associates, Ltd., 81 B.R. 112, 117 (Bankr. M.D. Fla. 1987)

(“compliance with [Section 365(d)(3)] is mandatory”); In re Gillis, 92 B.R. 461, 465 (Bankr. D.

Haw. 1988) (“Section 365(d)(3) requires timely payment of full rental obligations until there is a

decision to assume or reject the lease.”); In re Homeowner’s Outlet Mall Exchange. Inc., 89 B.R.

965, 970 (Bankr. S.D. Fla. 1988) (same); In re Dieckhaus Stationers of King Prussia, Inc., 73

B.R. 969, 973 (Bankr. E.D. Pa. 1987) (same); In re Rare Coin Galleries of America. Inc., 72

B.R. 415, 416 (D. Mass. 1987) (same); In re Coastal Dry Dock & Repair Corp., 62 B.R. 879,

882-883 (Bankr. E.D.N.Y. 1986) (same); In re M.H.I. Inc., 61 B.R. 69, 71 (Bankr. D. Md. 1986)

(“message of Congress is unmistakable” that trustee or debtor must pay full rent until lease is

assumed or rejected); In re Longua, 58 B.R. 503, 505 (Bankr. W.D. Wis. 1986) (same); see also,

130 Cong. Rec. S8994-95 (daily ed. June 29, 1984) (statement of Sen. Hatch)(“[Section

365(d)(3)] . . . would lessen the [problem of landlords being forced to provide services without

current payment] by requiring the trustee to perform all the obligations of the debtor under a

lease of nonresidential real property at the time required in the lease”).




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         11.       Notwithstanding the clear dictates of 11 U.S.C. § 365(d)(3), the Lessee Debtors

have failed to perform obligations arising under the Lease since the Petition Date. Specifically,

the Debtors have failed to pay Minimum and Escalating Rent from and after the Petition Date in

the following amounts:

                   i.     August, 2018:          $20,000

                   ii.    September 2018:        $12,100

                   iii.   October 2018:          $12,100

                   iv.    November 2018:         $20,000

                   v.     December 2018:         $20,000

         12.       Additionally, the Debtors have failed to pay Additional Rent for real estate taxes

in the following amounts:

                   i.     August 2018:           $1,500

                   ii.    September 2018:        $1,500

                   iii.   October 2018:          $1,500

                   iv.    November 2018:         $1,500

                   v.     December 2018:         $1,500

         13.       Together the Lessee Debtors have failed to pay rental amounts arising pursuant to

the Lease in the amount of $91,700.

         14.       The Court should, therefore, enter its Order requiring the Debtor to immediately

comply with Section 365(d)(3) and timely and fully pay to Live Well the post-petition Rent due

under the Lease. The amount required to cure the existing violation of Section 365(d)(3) is

$91,700.




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         B.        The Court Should Grant Live Well an Allowed Administrative Expense
                   Claim Pursuant to 11 U.S.C. § 503(b)(1)(A) with Priority as Provided in 11
                   U.S.C. § 507(a)(2) for the Unpaid Post-Petition Rent and Require Immediate
                   Payment of Such Claim.

         15.       Section 503(b)(1)(A) of the Bankruptcy Code allows a party to recover “the

actual, necessary costs and expenses of preserving the estate” as administrative expenses.

Pursuant to Section 503(b)(1)(A), the Court should allow as an administrative expense, claims

for rent accruing under a nonresidential real property lease during a Chapter 11 proceeding.

There is no question, that the payment of rent for the use and occupancy of real estate ordinarily

counts as an "actual, necessary" cost to which a landlord, as a creditor, is entitled, Zagata

Fabricators, Inc. v. Superior Air Prods., 893 F.2d 624, 627 (3d Cir. 1990).

         16.       In addition, courts have routinely held that the clause set forth in section 365(d)(3)

---‘notwithstanding section 503(b)(1)’---obviates the requirement that administrative expense

status be proven.” In re Tobago Bay Trading Co., 142 B.R. 528, 533 (Bankr. N.D. Ga. 1991).

(citing In re Cardinal Industries, Inc., 109 B.R. 738, 740 (Bankr. S.D. Ohio 1989); see also, In re

Pacific-Atlantic Trading Co., 27 F.3rd 401 (9th Cir. 1994) (holding that lessor is entitled to

payment of rental obligations without having to show the proof of value conferred upon the

estate by continued occupation of the premises).            Therefore, Live Well is also entitled to

allowance and payment of an administrative expense claim pursuant to Section 503(b)(1), for the

Monthly Rent that accrued from and after the Petition Date.

         17.       The Lessee Debtors have retained possession of the Property throughout this

Chapter 11 proceeding. As set forth above, the Lessee Debtors have nevertheless failed to fully

pay the Monthly Rent due under the Lease for the post-petition period in the amount of $91,700.

         18.       Accordingly, Live Well is entitled to allowance and immediate payment of an

administrative expense claim pursuant to 11 U.S.C. § 503(b)(1)(A) with priority as provided in


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11 U.S.C. § 507(a)(2) for the amount of the post-petition Rent that remains unpaid under the

Lease in the amount of $91,700. In the event the Lessee Debtors continue to fail to honor their s

obligations under Section 365(d)(3), Live Well is entitled to an additional administrative expense

claim for each month hereafter in the amount of at least $21,500.

         WHEREFORE, Live Well respectfully requests that the Court enter its Order:

         (A)       compelling the Debtor to comply with its obligations under 11 U.S.C. § 365(d)(3)

and immediately cure the existing default with respect to the Debtor’s failure to timely pay its

rental obligations for the post-petition period in the amount of $91,700;

         (B)       granting Live Well an allowed administrative expense claim pursuant to 11

U.S.C. § 503(b)(1)(A) with priority as provided in 11 U.S.C. § 507(a)(2) in the amount of

$91,700 for the amount of the rental amount arising under the Lease during the post-petition

period and require that such amount be immediately paid; and

         (C)       Such other relief as the Court deems just and proper.

         Dated this 21st day of December, 2018.

                                                 KUTAK ROCK LLP


                                                 By       /s/ Jeffrey T. Wegner
                                                      Jeffrey T. Wegner
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                                                      jeffrey.wegner@kutakrock.com

                                                 Counsel for Live Well Enterprises, LLC




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                                    EXHIBIT A

                                   [See attached.]




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                            ASSIGNMENT OF LEASE AGREEMENT


       This Assignment of Lease Agreement and Consent By Landlord ("Assignment") is made
and entered into as of the ____ day of December, 2016 by and between Eat Fit Go Healthy
Foods, LLC, a Nebraska limited liability company ("Assignor") and Eat Fit Go Kitchen Arizona,
LLC, a Nebraska limited liability company ("Assignee").

                                               WITNESSETH:

         WHEREAS, Assignor has heretofore entered in to that certain Lease Agreement dated as
of August 16, 2016, between Live Well Enterprises, LLC ("Landlord"), a Nebraska limited
liability company, and Assignor ("Lease"), whereby Assignor has leased from the Landlord
certain premises consisting of a production kitchen and warehouse facilities known as 739 E.
Dunlap Avenue, Phoenix, Arizona (the "Premises"); and

        WHEREAS, Assignor desires to assign the Lease to Assignee, and Assignee desires to
accept such assignment pursuant to the terms set forth below; and

        WHEREAS, the parties hereto desire to enter into this Assignment to define the rights,
duties and liabilities of the parties hereto.

       NOW, THEREFORE, for and in consideration of the mutual covenants herein contained,
and for other good and valuable consideration, the receipt and adequacy of which is hereby
acknowledged, the parties hereto agree as follows:

        1.       Assignment. Assignor hereby grants, conveys, assigns and transfers to Assignee
                 all of Assignor's right, title and interest in and to the Lease, to have and to hold
                 the same unto Assignee, its successors and assigns, from the date hereof to the
                 end of the term of the Lease. Assignee hereby accepts such assignment, and
                 agrees to assume all of the obligations of the Assignor under the Lease which
                 have not yet accrued as of the date of this Assignment, but which will accrue prior
                 to termination of the term of the Lease.

        2.       Assignor's Representations.    Assignor does hereby represent and warrant to
                 Assignee the following:

                 a)     To our knowledge, the Lease is in full force and effect, and has not been
                        modified, amended, revoked, rescinded or repealed.

                 b)     Assignor has delivered to Assignee a full, accurate and complete copy of
                        the Lease, with all amendments thereto, if any, all of which are attached
                        hereto as Exhibit A.

                 c)     No rent required to be paid under the Lease has been paid more than thirty
                        (30) days in advance of its due date.




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        3.       Consent of Landlord. It is understood and agreed that this Assignment shall not
                 take effect until it has been consented to, in writing, by the Landlord, by virtue of
                 its signature hereto in the Consent By Landlord set forth below.

        IN WITNESS WHEREOF, Assignor and Assignee have hereto executed this Assignment
as of the day and year first above written.

                                               ASSIGNOR:

                                               EAT FIT GO HEALTHY FOODS, LLC,

                                               By
                                               Name:
                                               Title:


                                               ASSIGNEE:

                                               EAT FIT GO ARIZONA KITCHEN, LLC,

                                               By
                                               Name:
                                               Title:


                                    CONSENT BY LANDLORD

        The undersigned, as owner of the Premises described above, and as Landlord under the
Lease, in consideration of the above Assignment, does hereby consent to the assignment of the
Lease by Assignor to Assignee, and does hereby accept the Assignee as Lessee under the Lease,
without, however, releasing Assignor from its obligations thereunder. This consent is effective
as of the date of the Assignment. Landlord does hereby confirm that the Lease is in full force
and effect and has not been modified, amended, revoked, rescinded or repealed, that all rent and
other amounts due under the Lease have been fully paid to date (except for the December, 2016
rent which remains unpaid), and that all covenants and obligations on the part of Assignor, as
Lessee, which have accrued up to the date hereof have been fully performed. Landlord further
states that it is not in default under the Lease, and to the best of its knowledge and belief,
Assignor, as Lessee under the Lease, is not in default under the Lease.

                                               LANDLORD:

                                               LIVE WELL ENTERPRISES, LLC

                                               By
                                               Name:
                                               Title:



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